                       UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF TENNESSEE AT CHATTANOOGA


  ZECO, LLC, d/b/a ZEE COMPANY,
  a Utah company,
                                                                Case No. 1:21-cv-00079
         Plaintiff/Counterclaim Defendant,

  vs.

  ENVIRO TECH CHEMICAL SERVICES,
  INC.,

         Defendant/Counterclaimant.


        DECLARATION OF DENNIS R. HELDMAN Ph.D. IN SUPPORT OF CLAIM
         CONSTRUCTION OF CERTAIN TERMS IN U.S. PATENT NO. 10,921,321


        I, Dennis R. Heldman, do hereby state and declare as follows:

        1.      I have been retained by Zeco, LLC, d/b/a Zee Company (“Zeco”) in this action

 and am being compensated at my customary hourly rate. My compensation is not based on the

 substance of the opinions rendered here, and my compensation in no way depends on the

 outcome of this case.

        2.      I am submitting this declaration to offer my opinions and technical analysis

 concerning discrete issues related to the interpretation of certain terms appearing in certain

 claims of U.S. Patent No. 10,912,321 (“the ‘321 Patent”) entitled “Methods of Using Peracetic

 Acid to Treat Poultry in a Chill Tank during Processing.” I understand the ‘321 Patent is Exhibit

 A to the Complaint in this action, and has been identified as Document 1-1.

        3.      This declaration is based on information currently available to me. I may

 continue my investigation and study, which may include a review of documents and information

 that may be produced, as well as deposition testimony from depositions that may yet be taken in



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 this case. Therefore, I may expand or modify my opinions as my investigation and study

 continues, and I may supplement my opinions and/or provide rebuttal opinions in response to

 any additional information that becomes available to me, any matters raised by Defendant Enviro

 Tech Chemical Services, Inc. (“Enviro Tech”) and/or opinions provided by Enviro Tech’s

 expert(s) (if any), and/or in light of any relevant orders from the Court.

                              BACKGROUND AND EXPERIENCE

        4.      I was awarded B.S. (1960) and M.S. (1962) degrees in dairy technology from The

 Ohio State University, and a Ph.D. (1965) in agricultural engineering from Michigan State

 University. My educational background emphasized the application of engineering principles

 and concepts to the processing of foods.

        5.      In 1966, I joined the faculty at Michigan State University, and began teaching and

 research in the area of food process engineering. I served as Chair of the Agricultural

 Engineering Department at Michigan State University from 1975 to 1979.

        6.      I joined the Campbell Soup Company in 1984, as the Vice President of Process

 Research and Development. In 1986, I moved to the National Food Processors Association, as

 Executive Vice President of Scientific Affairs, CEO for The National Food Laboratory, and

 President of The Food Processors Institute. In 1991, I joined the Weinberg Consulting Group

 Inc., and was involved in consulting on food regulatory issues.

        7.      I returned to academia in 1992, serving as Professor of Food Process Engineering

 at the University of Missouri (MU) and at Rutgers, The State University of New Jersey until

 2004. During this period, I served as Leader for the Foods, Feeds and Products Cluster in the

 Foods for the 21st Century program (MU), Leader for the Food Science and Engineering Unit

 (MU), Director for the Office of Value-Added Agriculture Outreach (MU) and Director of the



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 Cooperative Research & Development Program in the Center for Advanced Food Technology

 (CAFT) at Rutgers.

        8.      Following a period (2004 to 2012) of consulting work in applications of

 engineering concepts to food processing for educational institutions, industry and government, I

 joined the faculty at The Ohio State University as Dale A. Seiberling Endowed Professor of Food

 Engineering. I am involved in teaching and research in the area of food engineering, with a focus

 on sustainability of the food system, and specifically on improvement in process efficiencies

 while enhancing product quality.

        9.      I am the author of several books on topics of food processing. I wrote the first

 edition (1974) and co-wrote the second edition (1981) of Food Process Engineering, a textbook

 or undergraduate engineering students. I also co-wrote five editions of Introduction to Food

 Engineering (1984, 1993, 2001, 2008, 2014), co-edited two editions of the Handbook on Food

 Engineering (1992, 2007), and edited or co-edited the Encyclopedia for Agricultural, Food and

 Biological Engineering (2003, 2011), the Encyclopedia of Biotechnology in Agriculture and

 Food (2010), and the Handbook of Food Engineering (2019). I further wrote Chapter 3 –

 Sustainability of the Food Supply Chain; Energy, Water and Waste – for the textbook Food

 Engineering Innovations Across the Food Supply Chain (2021).

        10.     I am recognized as a leading expert in my field, having served as President of

 IFT, the Society for Food Science and Technology, from 2006-07. I was elected Fellow in the

 International Academy of Food Science & Technology in 2006, and was recognized with the

 Life Achievement Award from the International Association for Engineering and Food in

 Athens, Greece in May, 2011. I was recipient of the Frozen Food Foundation Freezing Research

 Award in August, 2011.



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        11.     I have previously served as an expert witness in the action Steuben Foods, Inc. v.

 Nestlé USA, Inc. (Case No. 1:13-CV-892-EAW-JJM) in the United States District Court for the

 Western District of New York. In that action, I was retained by Nestlé USA, Inc. and rendered

 my opinions and technical analysis concerning discrete issues related to the interpretation of

 certain terms appearing in the claims of three patents at issue.

        11.     My attached curriculum vitae (Exhibit A) summarizes my relevant experience,

 including my expertise in the art of aseptic processing and packaging foodstuffs.

        12.     I have read the asserted patent and selected excerpts from the file history. The

 opinions set forth in this declaration are based upon the asserted patent, the file history and are

 based on my relevant experience, including my expertise in the field of food processing, which

 has included the use of various biocides. The asserted patent relates generally to methods for

 treating poultry that use a chill tank containing peracetic-acid containing water to treat the

 poultry carcasses. The asserted patent discloses measuring and adjusting the pH of the peracetic

 acid-containing water tanks to an alkaline value to increase carcass weight and improve

 processing plant yields.

                                 GUIDING LEGAL PRINCIPLES

    A. Claim construction

        13.     I am not a legal expert and offer no opinions of the law. I have, however, been

 informed by counsel of the legal standards that apply to claim construction, and I have applied

 them in arriving at my conclusions.

        14.     I have been instructed that the words of a claim are given their ordinary

 customary meaning, as they would have been understood by a person of ordinary skill in the art

 (“POSITA,” discussed below) at the time of the invention, in view of the intrinsic record (also



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 discussed below). In this case, I have been instructed to assume that the “time of the invention”

 for purposes of claim construction is March 24, 2011, which is the earliest priority filing date for

 Enviro Tech’s parent patent. The opinions herein pertain to that timeframe, except where

 expressly stated otherwise.

        15.     I have been instructed that the “intrinsic record” of a patent consists of the claims

 themselves, as well as the figures and written description of the patent, and the patent’s

 prosecution history—i.e., the record of proceedings at the U.S. Patent and Trademark Office

 (“Patent Office”) concerning the patent. Like the claims and written description, the prosecution

 history provides evidence of how the inventors intended the patent to be understood, and how the

 Patent Office understood the patent. I understand that the inventors are permitted to apply a

 special definition to the terms in his patent claims, which may differ from the term’s plain and

 ordinary meaning. That special definition may be provided in the patent’s written description, the

 patent’s prosecution history, or both.

        16.     I understand that claim interpretation may also be informed by “extrinsic

 evidence” (that is, evidence outside of the patent record itself), so long as it does not contradict

 the intrinsic record. Extrinsic evidence may include dictionaries, technical treatises, and other

 materials evidencing the meaning of a claim term and the understanding held by a POSITA in

 the relevant time period.

 B. The level of ordinary skill in the art

        17.     A POSITA refers to a hypothetical person who is presumed to have known the

 relevant art at the time of the invention. The factors determining the level of ordinary skill in the

 art may include: (1) the type of problems encountered in the art, (2) prior art solutions to those

 problems, (3) the rapidity with which innovations are made, (4) the sophistication of the



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 technology, and (5) the educational level of active workers in the field. A POSITA is a person of

 ordinary creativity, not an automaton, meaning that a POSITA may employ inferences and

 creative steps in their work.

        18.     I understand that one of the inventors, Jonathon Howarth, Ph.D., submitted a

 declaration to the U.S. Patent & Trademark Office dated July 10, 2015 stating, “I believe a

 person skilled in the art of making and using biocides in poultry processing would be highly

 skilled and have experience with the biocides as actually used.” I agree that the level of skill in

 the art of poultry processing using biocides is high. In my opinion, based upon the technology in

 the asserted patent, a POSITA would at least have an undergraduate scientific or engineering

 degree in a relevant field (such as microbiology, chemistry, poultry science or food processing),

 at least five years of experience in food processing and/or agricultural chemistry (or a graduate

 degree conferring similar expertise), and an understanding of the relevant principles of

 microbiology and food science technology.

        19.     Based on my education, training, and professional experience in the art of food

 engineering and processing, as it relates to Enviro Tech’s asserted patent, I qualify as a person

 having at least ordinary skill in the art as of March 11, 2011.

                                    SUMMARY OF OPINIONS

        20.     Because of my background, I am familiar with the methods involved in poultry

 processing that underlie the technology in this lawsuit. At a high level, poultry are brought live

 into a processing facility, are slaughtered, defeathered and eviscerated after the removal of the

 head and feet. Each carcass and its internal organs are then inspected by an official of the U.S.

 Department of Agriculture (USDA). If the carcass and its internal organs are deemed healthy

 and free of fecal and digestive tract matter, the poultry carcass is then chilled to reduce its



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 temperature from approximately 40o Celsius to 4o Celsius to contribute to food safety. Poultry

 carcasses can be air chilled or immersion chilled by submersing the carcass in large chill tanks

 containing a chilled solution. Submersing the carcass in a chill tank containing a chilled solution

 not only serves the purpose of lowering the carcass temperature, but the chilled solution can also

 contain an antimicrobial to inactivate or reduce the unwanted microorganisms (e.g., E. coli,

 Campylobacter and Salmonella) on the carcass for food safety purposes relating to human

 consumption. After the poultry has been in each of one or more chill tanks for some time,

 typically at least about 45 minutes, it is removed for further processing .

        21.     The claims of the asserted patent recite some of these steps, such as providing a

 chill tank that contains a peracetic-acid containing water, which comprises water and PAA,

 placing the poultry into the chill tank, and then after the passage of time removing the poultry

 from the chill tank. The order of these steps, as recited in the claims, is the natural order of steps

 followed in poultry processing facilities.

        22.     In addition to concerns regarding using antimicrobials for inactivation or reducing

 the numbers of unwanted microorganisms, poultry processors are also concerned with the weight

 of the carcasses that result in a processed product that will be made ready for sale. As anyone

 who has ever shopped at a grocery store knows, poultry is priced based on weight. Thus, poultry

 processors endeavor to increase the weight of the carcasses during processing operations because

 increase weight results in increased revenue.

        23.     There are several antimicrobials that are approved and effective for use in chill

 tanks on poultry carcasses to kill or reduce unwanted microorganisms. Two common

 antimicrobials used in chill tanks are chlorine and peroxyacetic acid, or peracetic acid. Peracetic

 acid is often referred to by the short-hand abbreviation PAA. As recognized in the Background


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 section of the asserted patent, the poultry processing industry has used PAA as an antimicrobial in

 chill tanks for poultry processing for many years that pre-date the March 2011 filing of the asserted

 patent.

           24.   The pH of PAA is naturally acidic (i.e., below a neutral pH of 7.0). Typically,

 when used in poultry processing, the pH of PAA falls within its naturally acidic range below 7.0,

 such as the range of 3.5 to 6.0, which is dependent upon the concentration with higher

 concentrated solutions having a lower pH.

           25.   pH, which is an abbreviation for “potential of hydrogen,” is a scale used to

 specify the relative acidity or alkalinity of a solution on a logarithmic scale that normally ranges

 from 0 to 14. At 25o C. solutions having a pH of 7 are neutral, which means it is neither “acidic”

 nor “alkaline.” Solutions having a pH less than 7.0 are “acidic” such that as the acidity increases

 the pH falls below 7.0. Solutions having a pH greater than 7.0 are “alkaline” such that as the

 alkalinity increases the pH rises above 7.0. The pH is logarithmic and inversely indicates the

 concentration of hydrogen ions in the solution, which has the accepted formula:




 where αH+ is the hydrogen ion activity in a solution.

           26.   During food processing generally, and including the solution in the chill tank

 during poultry processing, it is often helpful to know the pH of processing solution because

 microorganisms, including yeasts, molds and bacteria, are sensitive to pH, such that solutions

 maintained at certain pH values reduce the growth of microorganisms. As such, processors may

 periodically check the pH of the liquid by using devices such as a glass electrode, a pH meter,




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 indicator solutions, or pH test strips. The asserted patent mentions each of these methods of

 measuring the pH of a solution.

        27.     pH meters often use a glass electrode, which measures the voltage (difference in

 potential) generated between a standard electrode and a reference electrode. The standard

 electrode is not exposed to a sample solution but a standard solution having a known, fixed

 activity of hydrogen activity. In contrast, a reference electrode is exposed to a sample solution

 with an unknown hydrogen activity. The glass electrode can have the standard and reference

 electrodes provided as separate electrodes or provided in a combination design. In a similar

 manner, indicator solutions and test strips are colorimetric methods that use a pH specific color

 indicator and comparator to measure pH. For instance, test strips can be placed in a solution

 after which time they change color based on the pH of the solution. The color of the test strip can

 then be compared to a known color chart to provide the measured pH. An indicator solution

 functions in a similar manner in that the indicator solution changes the color of a sample solution

 over a narrow range of pH values. For instance, methyl red is a pH indicator solution that is used

 to identify pH values between 4.4 and 6.2. At low pH (4.4 and lower), the indicator solution

 provided in a sample solution will turn red. At high pH (6.2 and above) the color is yellow.

 Between 4.4 and 6.2, the indicator solution is orange. Other indicator solutions can also be used

 alone or in combination, with each indicator solution having different pH ranges and colors for

 the measurement of pH. Each of these methods disclosed in the asserted patent provide a direct

 measure of pH.

        28.     I understand that the second step in the method of each independent claim recites

 “after the step of providing the peracetic acid-containing water, determining the pH of the

 peracetic acid containing water….” I also understand that the fourth step in the method of each



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 independent claim recites “after the step of placing at least the portion of the poultry carcass into

 the peracetic-acid containing water, determining the pH of the peracetic-acid containing water in

 the reservoir…” I further understand that there is a dispute as to the meaning of “determining” as

 understood by one of ordinary skill in the art at the time the asserted patent was filed in March

 2011.

         29.    It is my opinion that one of ordinary skill in the art would have understood the

 term “determining” to mean “measuring” the acidity or alkalinity of the peracetic-acid containing

 water in the reservoir. I base my opinion on numerous factors.

         30.    First, as mentioned above, the disclosed methods to determine pH in the asserted

 patent do so by directly measuring the pH. Some devices, such as a glass electrode/probe

 measure by determining the difference between the voltage (difference in potential) produced by

 hydrogen ions of each of the two solutions of the reference and standard electrodes. Other

 devices, such as a test strip and indicator solutions, provide a color indicator and comparator

 providing a measured pH of the sample solution.

         31.    Second, I have reviewed the file history of the asserted patent, including the

 statements from Sacit F. Bilgili, Ph.D. in his January 13, 2016 Declaration that was submitted

 during prosecution of the asserted patent. Dr. Bilgili asserted, in paragraph 3 of his declaration

 that the claims of the asserted patent “require actively managing the pH of the peracetic acid-

 containing water in a poultry chill tank.” Dr. Bilgili elaborated in the following paragraph that

 this is done with “equipment to measure and monitor the pH….” Id. A copy of Dr. Bilgili’s

 Declaration is attached as Exhibit 8 to the Declaration of Eric Chadwick.

         32.    Third, when discussing determining the pH, the asserted patent itself repeatedly

 uses the term measure or a similar variant (e.g., measured). For example, in Example 16, the



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